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               ORAL ARGUMENT NO YET SCHEDULED
                     No. 23-1157 (and consolidated cases)

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                          STATE OF UTAH, et al.,
                                 Petitioners,
                                      v.

      UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
and MICHAEL S. REGAN, in his official capacity as Administrator, United States
                  Environmental Protection Agency,
                                Respondents.


          On Petitions for Judicial Review of Final Agency Action of
             the United States Environmental Protection Agency
                      88 Fed. Reg. 36,654 (June 5, 2023)


                REPLY BRIEF OF INTERVENOR CITY
              UTILITIES OF SPRINGFIELD, MISSOURI IN
                SUPPORT OF CERTAIN PETITIONERS


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*88 Fed. Reg. 36654 (June 5, 2023)
   (“Final FIP”) .....................................................................1, 2, 4, 5, 6, 7, 8, 9, 10, 11, 12

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* Authorities chiefly relied upon are marked with an asterisk.


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                                GLOSSARY

 2016 CSAPR     “Cross-State Air Pollution Rule Update for the 2008 Ozone
 Update         NAAQS,” 81 Fed. Reg. 74504 (Oct. 26, 2016)

 2021 Revised   “Revised Cross-State Air Pollution Rule Update for the 2008
 CSAPR Update   Ozone NAAQS,” 86 Fed. Reg. 23054 (April 30, 2021)

 CAA            Clean Air Act

 CAIR           Clean Air Interstate Rule

 CSAPR          Cross-State Air Pollution Rule

 EGU            Electric generating units

 EPA            United States Environmental Protection Agency

 FIP            Federal Implementation Plan

 Final FIP      “Federal ‘Good Neighbor Plan’ for the 2015 Ozone National
                Ambient Air Quality Standards,” 88 Fed. Reg. 36654 (June 5,
                2023)

 NOx            Nitrogen oxides




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               INTRODUCTION AND SUMMARY OF ARGUMENT

      The Environmental Protection Agency’s (“EPA”) redesign the Cross-State

Air Pollution Rule (“CSAPR”) NOx Ozone Season Group 3 Trading Program

through so-called “enhancements” to the program was arbitrary, capricious, and

unlawful. As State Petitioners and Industry Petitioners have shown, these

“enhancements” constitute unlawful over-control, in violation of the Clean Air Act

(“CAA”).

      But the Agency also failed to adequately justify the dramatic changes to the

trading market program that fundamentally undermine the “legitimate expectation”

electric generating unit (“EGU”) industry participants, like City Utilities, have that

banked allowances will retain their future value. Many of the program

“enhancements” reflect a significant departure from past allowance-based trading

markets EPA has designed and managed. And, key aspects of some of the trading

program “enhancements”—like allowance conversion ratios, annual allowance

recalibration values, and future state “dynamic” budgeting changes—were left

unsettled in the Final FIP and are still not yet known. Finalizing a rule with so

much uncertainty baked into the trading program undercuts the ability of industry

participants to plan for near-term and future environmental compliance in

economically sensible and efficient ways. When considered together, EPA’s

finalized “enhancements” transform the program from an allowance-based trading



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market into a command-and-control regulatory regime that punishes good actors

like City Utilities that prioritized early adoption of pollution control equipment and

over-compliance, at great cost, in order to reduce emissions and bank allowances

for the future.

                                   ARGUMENT
I.    THE COURT SHOULD FULLY CONSIDER ALL ARGUMENTS
      RAISED IN CITY UTILITIES’ OPENING BRIEF

      EPA first argues that the Court should disregard City Utilities’ Opening

Brief because it “raises an entirely distinct challenge to the trading program

enhancements.” EPA Br. 66.1 This is false. In its Opening Brief, City Utilities

argues that EPA’s allowance banking “enhancements” are arbitrary, capricious,

and unlawful, consistent with Industry Petitioners (Industry Petitioner Opening Br.

16-17, 28-34, 49-52) and State Petitioners (State Petitioner Opening Br. 23-24, 47-

50). As City Utilities summarized its argument in the Opening Brief, “[it] adopts

and supports the arguments made by State Petitioners and Industry Petitioners that

the program ‘enhancements’ introduced by EPA in the Final FIP constitute

unlawful ‘over-control’ in violation of the Clean Air Act,” but that the brief would


1
  It is unclear whether EPA’s position is that only one of City Utilities’
arguments—Section I.A. of the Opening Brief related to “reliance interests”—or
all of City Utilities’ arguments should be ignored. City Utilities assumes for the
sake of a fulsome response that EPA intends the Court to disregard all arguments
raised in the Opening Brief. For all of the reasons addressed in this Section, the
Court should not disregard any of City Utilities’ arguments.

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show that “EPA’s decision to finalize these ‘enhancements’ is arbitrary and

capricious for the additional reason that they constitute a significant departure

from past ozone good neighbor rulemakings, which EPA has not adequately

explained or justified, and undercut the most basic principles of an allowance

trading market.” City Utilities Opening Br. 4 (emphasis added).

      Per D.C. Circuit Rule 28(d)(2), and this Court’s October 11, 2023 Order

(ECF 2021227) granting City Utilities’ motion to intervene and citing Circuit Rule

28(d), an intervenor’s brief must focus exclusively on additional points and

arguments not otherwise raised in the principal brief: “[t]he [intervenor’s] brief

must avoid repetition of facts or legal arguments made in the principal

(appellant/petitioner or appellee/respondent) brief, and focus on points not made or

adequately elaborated upon in the principal brief, although relevant to the issues

before this court.” (emphasis added). City Utilities’ Opening Brief does just this—

the arguments highlight additional reasons for why EPA’s trading scheme

“enhancements” are arbitrary, capricious, and unlawful not otherwise fully

addressed by Industry Petitioners and State Petitioners.

      EPA’s cited case law for the proposition that intervenors “may only argue

issues that have been raised by the principal parties” and that by failing to timely

file its own petition for review an intervenor “forfeit[s] any guarantee to judicial

review of its claim” is inapposite and distinguishable. EPA Br. 66 (citing Am. Fuel



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& Petrochemical Mfrs. v. EPA, 937 F.3d 559, 590 (D.C. Cir. 2019)). In American

Fuel & Petrochemical Manufacturers, this Court declined to consider an

“intervenor-only” argument alleging Regulatory Flexibility Act violations raised

by the Small Retailers Coalition; however, in that case “the parties agree[d] that

only the Coalition raises the [Regulatory Flexibility Act] argument.” Am. Fuel &

Petrochemical Mfrs., 937 F.3d at 590. In other words, this Court determined that

the intervenor raised a unique argument based on an alleged statutory violation not

addressed or briefed by the principal petitioners. For this reason, the Court deemed

it an “intervenor-only” argument it was not obliged to consider.

      That is not the case here. Industry Petitioners and State Petitioners have both

argued that EPA’s program “enhancements” in the Final FIP are arbitrary,

capricious, and unlawful under the CAA. See, e.g., Industry Petitioners Opening

Br. 16-17, 28-34, 49-52; State Petitioners Opening Br. 23-24, 47-50. City Utilities

likewise argues that these “enhancements” are arbitrary, capricious, and unlawful

and provides additional reasons to support this conclusion that were not fully

briefed by Industry Petitioners or State Petitioners. These are not “intervenor-only”

arguments that this Court can disregard.

      Because City Utilities has not raised an “intervenor-only” argument, the

Court does not need to determine whether this is an “extraordinary” case in which

it should exercise its discretion to consider the arguments. EPA Br. 66-67 (citing



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Am. Fuel & Petrochemical Mfrs., 937 F.3d at 590, and AMSC Subsidiary Corp. v.

FCC, 216 F.3d 1154, 1161-62 (D.C. Cir. 2000)). But even if the Court does find

City Utilities’ brief contains “intervenor-only” arguments, the Court would be well

within its discretion to fully consider them. City Utilities’ arguments about reliance

interests in the usability of allowances, the stability of the allowance trading

markets, and EPA’s failure to justify its trading market “enhancements” in this

Final FIP rulemaking go directly to the Agency’s legal and regulatory authority to

finalize the Good Neighbor Plan and they are highly relevant to all industry

participants in EPA’s Final FIP program. Therefore, City Utilities’ arguments

about why EPA’s Final FIP was arbitrary, capricious, and unlawful constitute an

“essential predicate” to the issue of EPA’s authority and justifications for finalizing

this rulemaking, E. Ky. Power Coop., Inc. v. FERC, 489 F.3d 1299, 1305 (D.C.

Cir. 2007), and considering them would be entirely consistent with this Court’s

“traditionally flexible approach toward appellate procedure.” Synovus Fin. Corp. v.

Bd. of Governors of Fed. Res. Sys., 952 F.2d 426, 433 (D.C. Cir. 1991).




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II.   EPA’S ALLOWANCE BANKING “ENHANCEMENTS” ARE
      ARBITRARY, CAPRICIOUS AND UNLAWFUL.

      A. EPA Did Not Adequately Consider Industry’s Significant Reliance
         Interests and Failed to Justify the Trading Program
         “Enhancements.”

      EPA has a long history of developing and supporting allowance-based

trading programs across various CAA regulatory programs. See, e.g., Final FIP at

36762 (detailing past EPA trading programs under the CAA and identifying six

active CSAPR trading programs constructed with nearly identical “core design

elements”). The Agency itself has made clear it firmly believes such allowance-

based trading and banking programs “can serve a variety of purposes: continuously

incentivizing sources to reduce their emissions even when they already hold

sufficient allowances to cover their expected emissions for a control period,

facilitating compliance cost minimization, accommodating necessary operational

flexibility, and promoting allowance market liquidity.” Final FIP at 36766; see also

City Utilities Opening Br. 7. However, allowance-based trading programs, and the

demonstrable environmental benefits they deliver, are “conditioned on the

expectation that the resulting banked allowances will have some value in the future

of that program.” City Utilities Opening Br. 8 (quoting 81 Fed. Reg. 74504, 74561

(Oct. 26, 2016) (“2016 CSAPR Update”) (emphasis added)); see also Wisconsin v.

EPA, 938 F.3d 303, 321 (D.C. Cir. 2019) (recognizing that an EGU’s “legitimate



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‘expectation’” that previously banked allowances will continue to have value in the

future is essential to preserving such a trading program (quoting 2016 CSAPR

Update at 74561)). Industry participants, like City Utilities, rely on the stability and

predictable design of these trading programs in order to make forward-looking

capital investments, deliver energy to customers efficiency and effectively, and

achieve environmental compliance.

      EPA’s final design of the new CSAPR NOX Ozone Season Group 3 Trading

Program in the Final FIP completely undermines the certainties and reliance

interests in the program by finalizing “enhancements” that taken together, and by

EPA’s own admission, go far beyond anything the Agency has used in the past for

similar trading programs that address similar regulatory concerns. See, e.g., City

Utilities Opening Br. 18 (quoting EPA’s Final FIP at 36773 (“[I]ncluding an

annual bank recalibration of any percentage is an enhancement in the trading

program from prior trading programs under the good neighbor provision

established in the [Clean Air Interstate Rule (“CAIR”)], CSAPR, [2016] CSAPR

Update, and [2021] Revised CSAPR Update rulemakings….”) and Final FIP at n.

288 (“[A]llowance banking has not previously been limited under any of the

CSAPR trading programs….”)). In fact, all of EPA’s “enhancements”—an initial

allowance bank conversion ratio that has not yet been fixed, annual allowance bank

recalibrations, “dynamic” state emissions budgeting, unit-specific daily backstop



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rates and a 3-for-1 surrender penalty, and unit-specific “secondary emissions

limitations”—together will essentially transform this program from a trading

market into a top-down, command-and-control regulatory regime. City Utilities

Opening Br. 5, 10. Agencies cannot abruptly break from prior policy, especially

where there are significant reliance interest at stake, without serious attention,

consideration, and justification for the changes because it would be “arbitrary and

capricious to ignore such matters.” City Utilities Opening Br. 9-10 (quoting FCC v.

Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)). But, this is precisely what

EPA has done in the Final FIP—finalize, without adequate justification or

attention, sweeping and transformative changes to the allowance-based trading

market that undercut industry participant confidence and reliance on past program

designs, and that particularly penalize those EGUs (like City Utilities) who

adopted early emission controls at significant expense and in reliance on the

trading program maintaining—not diminishing—the future value of allowances

generated and sustained through pollution-reducing over-control.

      EPA responds that “[t]he record includes extensive discussion” of these

issues that justifies why EPA “determined that [the enhancements] best balanced

the incentives provided by market-based trading with the need to ensure sustained,

effective emission reductions to aid downwind areas.” EPA Br. 67. But EPA does

not, nor can they, show that the Agency fully considered the implications of



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transforming the program from an allowance-based trading market into a virtual

command-and-control program, especially for industry participants like City

Utilities that have always and continue to rely on certainty and predictability in the

allowance trading market. Nor does EPA adequately respond to City Utilities’

arguments that these program “enhancements” effectively punish good actors like

City Utilities that were early adopters of post-combustion pollution control

technologies in order to over-control NOx emissions. See, e.g., City Utilities

Opening Br. 4-5, 7-8, n.4.

      EPA misleadingly asserts that City Utilities “could have no reasonable

expectation that its allowances from prior Good Neighbor rules would transfer

untouched to the trading program for the new Rule.” EPA Br. 68. EPA misstates

City Utilities’ position. City Utilities has not argued that its prior allowances must

remain “untouched” or that EPA in the Final FIP was prohibited from transferring

banked allowances in the transition from one trading program group to a new one;

to the contrary, City Utilities acknowledged that EPA has developed new trading

program groups in other recent rulemakings and that the Agency has had to grapple

with setting allowance conversions in these actions. See City Utilities Opening Br.

11 (“The Final FIP is not the first time EPA has transitioned EGUs from one

trading group to another … In both [recent CSAPR update rules], EPA developed a

process for converting allowances banked by utilities in the prior group system into



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the new group according to conversation ratios.”). Rather, a critical deficiency in

EPA’s Final FIP is its significant departure from past allowance-based trading

program revisions, without adequate justification, and in a way that undermines

long-standing EGU reliance interests, by applying an as-yet unknown conversion

ratio for allowances banked from earlier years, annually “recalibrating” the number

of banked allowances that can be carried over each year, and then finalizing all of

the other program “enhancements” that penalize industry participants and stifle the

trading market generally. City Utilities Opening Br. 9-10, 12-16.

      B. Key Elements of the Trading Program “Enhancements” Remain
         Unknown.

      EPA argues that industry participant reliance interests and certainty in the

design and future operations of the trading program are not undermined by the

Final FIP because bank conversion and annual recalibrations are done on a

proportional basis and, generally, that “[a]llowances will have both monetary value

and competitive value, and can be banked, sold, and used for compliance according

to set, universal, and predictable rules.” EPA Br. 69-70. But EPA fails to fully

acknowledge that several critical components of the trading program

“enhancements” are not completely fixed in the Final FIP, including the bank

allowance conversion ratio, the exact annual recalibration amounts, or future

“dynamic” state emissions budgeting, for example, and that this contributes to the



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forward-looking uncertainty that electricity-generators like City Utilities face. City

Utilities Opening Br. 12-15, 15-16, 19; compare 2021 Revised CSAPR Update

Rule, 86 Fed. Reg. 23054, 23137 (April 30, 2021) (specifying the banked

allowance conversion ratio in the rule “so that the value of the ratio… is knowable

as of the date of this final rule.”).

       Instead, EPA tries to support its point that banking and allowance trading

will continue in this program unimpeded and that market participants will have “a

significant cushion of allowances” by citing to its April 2024 Federal Register

publication titled “Information Regarding Allowances Used in Cross-State

Pollution Rule (CSAPR) Trading Programs.” EPA Br. 70 (citing 89 Fed. Reg.

29328 (Apr. 22, 2024)). This publication contains “an estimate of the data and

calculations to be used in the allowance bank recalibration process for the 2024

control period under CSAPR NOx Ozone Season Group 3 Trading Program.” 89

Fed. Reg. at 29328. EPA cites this data purportedly to demonstrate the certainty

and clarity of EPA’s trading program, but it shows the exact opposite. For one

thing, the allowance bank data in this April publication only considers the 10 states

where the Final FIP had not already been stayed by appellate courts and

administratively stayed by EPA. Id. at 29329 (“For the 2024 control period, the

allowance bank ceiling target is expected to be 12,605 tons, computed as 21% the

sum of the 2024 state emission budgets for the ten states currently covered by the



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trading program.” (emphasis added)); this does not include Missouri, where City

Utilities operates. Furthermore, by EPA’s own admission in the publication, “[a]s

of the date of signature of this notice, applications for a stay of the Good Neighbor

Plan are pending before the Supreme Court of the United States. If a stay order is

issued and depending on its nature, it could affect EPA's ability to implement the

regulatory provisions of the CSAPR NOx Ozone Season Group 3 Trading Program

that are described in this notice.” 89 Fed. Reg. at n.1. As EPA well knows, on June

27, the Supreme Court did issue a stay of the Final FIP in Ohio v. EPA, 603 U.S.

__, 144 S. Ct. 2040 (2024). Therefore, EPA’s already incomplete allowance bank

recalibration estimates provided in this publication are moot and meaningless.

Industry participants remain as uncertain today as when EPA finalized the FIP as

to what the trading program and banking recalibration numbers will look like, and

how severe the impact on market value of their banked allowances will be, in the

near-term years in any new Group 3 trading program.

                                  CONCLUSION

      For all of these reasons, and of those set forth in the briefs of Industry

Petitioners and State Petitioners, the Court should set aside the Final FIP.




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                                         Respectfully submitted,


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August 9, 2024




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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(f) and (g), I hereby certify that the foregoing

complies with the Court’s Orders of December 4, 2023 and January 4, 2024 because

it contains 2,649 words, excluding portions exempted by Fed. R. App. P. 32(f) and

Circuit Rule 32(e)(1).

      I further certify that this brief complies with the typeface and type-style

requirements of Fed. R. App. Proc. 32(a)(5), (6) because it has been prepared in 14-

point Times New Roman font, using Microsoft Word.


 Dated: August 9, 2024
                               /s/ Thomas J. Grever
                               Thomas J. Grever



                           CERTIFICATE OF SERVICE

      I hereby certify that on August 9, 2024, I electronically filed the foregoing

with the Clerk of Court through the Court’s CM/ECF system. The participants in the

case are registered CM/ECF users and service will be accomplished through the

CM/ECF system.



                               /s/ Thomas J. Grever
                               Thomas J. Grever




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